            Case 2:17-cv-00438-AJS Document 1 Filed 04/07/17 Page 1 of 11



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 LISA FRAZIER,
                                                               Case No.
                        Plaintiff,

        v.                                                     Filed Electronically

 CAPITAL TEAS, INC.,

                        Defendant.


              COMPLAINT FOR PERMANENT INJUNCTION
  REQUIRING CHANGES TO CORPORATE POLICY AND THE ELIMINATION OF
      DIGITAL ACCESS BARRIERS PURSUANT TO 42 U.S.C. § 12188(a)(2)

       Lisa Frazier (“Plaintiff”) seeks a permanent injunction requiring a change in Capital Teas,

Inc.’s. (“Defendant” or the “Company”) corporate polices to cause Defendant’s website to become,

and remain, accessible. In support thereof, Plaintiff asserts as follows:

                                        INTRODUCTION

       1.      Plaintiff brings this action against Defendant and assert that its website is not

accessible to blind and visually impaired consumers in violation of Title III of the Americans with

Disabilities Act, 42 U.S.C. § 12101 et seq. (the “ADA”). Plaintiff seeks a permanent injunction to

cause a change in Defendant’s corporate policies related to its web-based technologies so that

Defendant’s Website (defined herein) will become, and will remain, accessible. The Website at

issue is the following: www.capitalteas.com (the “Website”).

       2.      While the increasing pervasiveness of digital information presents an

unprecedented opportunity to increase access to goods and services for people with perceptual or

motor disabilities, website developers and web content developers often implement digital

technologies without regard to whether those technologies can be accessed by individuals with
            Case 2:17-cv-00438-AJS Document 1 Filed 04/07/17 Page 2 of 11



disabilities. This is notwithstanding the fact that accessible technology is both readily available

and cost effective.

       3.       Blind and visually impaired consumers must use screen reading software or other

assistive technologies in order to access website content. Defendant’s Website contains digital

barriers which limit the ability of blind and visually impaired consumers to access its many pages.

       4.       Plaintiff has attempted to patronize Defendant’s Website in the past, and will

attempt again in the future in order to utilize all of the services Defendant offers and to ensure the

Website’s compliance with the ADA. However, unless Defendant is required to eliminate the

access barriers at issue and required to change its policies so that access barriers do not reoccur on

Defendant’s Website, Plaintiff will continue to be denied full access to the Website as described,

and will be deterred from fully using Defendant’s Website.

       5.       The ADA expressly contemplates the type of injunctive relief that Plaintiff seeks

in this action. In relevant part, the ADA requires:

                In the case of violations of . . . this title, injunctive relief shall include
                an order to alter facilities to make such facilities readily accessible
                to and usable by individuals with disabilities….Where appropriate,
                injunctive relief shall also include requiring the . . . modification of
                a policy. . .

42 U.S.C. § 12188(a)(2).

       6.       Because Defendant’s Website has never been accessible and because Defendant

does not have, and has never had, a corporate policy that is reasonably calculated to cause its

Website to become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks a

permanent injunction requiring:

             a) that Defendant retain a qualified consultant acceptable to Plaintiff (“Mutually
                Agreed Upon Consultant”) and who shall assist it in improving the accessibility of
                its Website so it complies with version 2.0 of the Web Content Accessibility
                Guidelines (“WCAG 2.0 AA”);

                                                      2
            Case 2:17-cv-00438-AJS Document 1 Filed 04/07/17 Page 3 of 11




             b) that Defendant work with the Mutually Agreed Upon Consultant to ensure that all
                employees involved in website development and content development be given
                web accessibility training on a periodic basis calculated to achieve ongoing
                compliance with WCAG 2.0 AA;

             c) that Defendant work with the Mutually Agreed Upon Consultant to perform an
                automated accessibility audit on a periodic basis to evaluate whether Defendant’s
                Website continues to comply with WCAG 2.0 AA on an ongoing basis;

             d) that Defendant work with the Mutually Agreed Upon Consultant to perform end-
                user accessibility/usability testing on a periodic basis with said testing to be
                performed by individuals with various disabilities to evaluate whether Defendant’s
                Website continues to comply with WCAG 2.0 AA on an ongoing basis; and,

             e) that Defendant work with the Mutually Agreed Upon Consultant to create an
                accessibility policy that will be posted on its Website, along with an e-mail address
                and toll free phone number to report accessibility-related problems.1

                                JURISDICTION AND VENUE

       7.       This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and 42

U.S.C. § 12188.

       8.       Plaintiff Frazier’s claims asserted herein arose in this judicial district.

       9.       Defendant purposefully targets and otherwise solicits business from Pennsylvania

residents through its Website and store locations. Because of this targeting, it is not unusual for

Defendant to conduct business with Pennsylvania residents. In fact, the opposite is true: Defendant

derives substantial revenue from transactions in Pennsylvania, having more than a slight effect on

the state’s commerce as a result.


1
  Web-based technologies have features and content that are modified on a daily, and in some
instances an hourly, basis, and a one time “fix” to an inaccessible website will not cause the website
to remain accessible without a corresponding change in corporate policies related to those web-
based technologies. To evaluate whether an inaccessible website has been rendered accessible, and
whether corporate policies related to web-based technologies have been changed in a meaningful
manner that will cause the website to remain accessible, the website must be reviewed on periodic
basis using both automated accessibility screening tools and end user testing by disabled
individuals.

                                                   3
            Case 2:17-cv-00438-AJS Document 1 Filed 04/07/17 Page 4 of 11



       10.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2) in that this is

the judicial district in which a substantial part of the acts and omissions giving rise to the claims

occurred.

                                             PARTIES

       11.     Plaintiff Frazier is and, at all times relevant hereto, has been a resident of Allegheny

County, Pennsylvania. Plaintiff Frazier is and, at all times relevant hereto, has been legally blind

and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the

regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

       12.     Defendant Capital Teas Inc. is a Maryland corporation with its principal place of

business located in Annapolis, Maryland. Defendant is an American specialty tea company, which

primarily sells premium loose tea and tea-related products. They offer over 200 types of specialty

teas with over 23 stores nationwide. Defendant owns, operates and maintains brick and mortar

locations across the United States, including a location at the Ross Park Mall, 1000 Ross Park Mall

Drive, Pittsburgh, PA 15237. Defendant’s brick and mortar locations and Website are integrated

and are public accommodations pursuant to 42 U.S.C. § 12181(7).

                               FACTUAL BACKGROUND

       13.     The internet has become a significant source of information and a means for

conducting everyday activities such as shopping, banking, education, and entertainment for both

sighted and blind and visually-impaired persons, as well as individuals with other perceptual or

motor disabilities.

       14.     Individuals with vision related disabilities may access websites by using keyboards

in conjunction with screen reader software that converts text to audio. Screen reader software

provides the primary method by which a blind person may independently use the internet. Unless



                                                  4
          Case 2:17-cv-00438-AJS Document 1 Filed 04/07/17 Page 5 of 11



websites are designed to be read by screen reader software, blind individuals are unable to fully

access websites and the information, products and services available through the sites.

       15.     Through its Website, consumers can view and purchase products for online sale

and home delivery. Defendant’s Website also allows consumers to connect with customer service,

create an account for future purchases, view best sellers, and find the nearest store location.

       16.     Plaintiff is permanently blind and uses screen reader software to access the internet

and read website content.

       17.     Plaintiff has visited the Website and has been denied the full use and enjoyment of

the facilities, goods, and services available on the Website as a result of access barriers.

       18.     The Website’s barriers have previously denied Plaintiff full and equal access to all

of the services Defendant’s Website offers, and now deters Plaintiff from attempting to use

Defendant’s Website in the future.

       19.     Despite her permanent disability, Plaintiff is ready, able, and intends to visit

Defendant’s Website once it is made compliant. Plaintiffs’ disability, and the challenges Plaintiff

faces in physically traveling to and shopping in traditional brick-and-mortar retailers as a result of

it, make it particularly likely that Plaintiff will return to Defendant’s Website in the future to

purchase Defendant’s goods from the comfort of her home, or testing it for compliance.

       20.     As a result of having visited Defendant’s Website in the past, and of investigations

performed on Plaintiff’s behalf, Plaintiff is aware that Defendant’s Website includes at least the

following access barriers:

               a) A text equivalent for every non-text element is not provided;

               b) Information about the meaning and structure of content is not conveyed by more

                   than the visual presentation of content;



                                                  5
Case 2:17-cv-00438-AJS Document 1 Filed 04/07/17 Page 6 of 11



   c) Not all functionality of the content is operable through a keyboard interface

      without requiring specific timings for individual keystrokes, except where the

      underlying function depends on the path of the user’s movement;

   d) If the content enforces a time limit, the user is not always able to extend, adjust

      or disable it unless the time limit is part of a real time activity or would

      invalidate the activity;

   e) A mechanism is not always available to bypass blocks of content that are

      repeated on multiple web pages;

   f) Web pages lack titles that describe their topic or purpose;

   g) The purpose of each link cannot be determined from the link text alone or from

      the link text and its programmatically determined link context;

   h) The default human language of each Web page cannot be programmatically

      determined;

   i) Changing the setting of any user interface component may automatically cause

      a change of context unless the user has been informed before using the

      component;

   j) Labels or instructions are not always provided when content requires user input;

   k) In content implemented using markup languages, elements do not always have

      complete start and end tags, are nested according to their specifications, may

      contain duplicate attributes, and IDs are not always unique; and

   l) The name and role of all UI elements cannot be programmatically determined;

      things that can be set by the user cannot be programmatically set; and/or




                                     6
              Case 2:17-cv-00438-AJS Document 1 Filed 04/07/17 Page 7 of 11



                       notification of changes to these items is not available to user agents, including

                       assistive technology.

         21.      If the Website were accessible, i.e. if Defendant removed these barriers, Plaintiff

could independently shop for and research products via Defendant’s Website.

         22.      Though Defendant has centralized policies regarding the maintenance and

operation of its Website, Defendant has never had a plan or policy that is reasonably calculated to

make its Website fully accessible to, and independently usable by, individuals with vision related

disabilities. As a result, the complained of architectural barriers are permanent in nature and likely

to persist.

         23.      The law requires that Defendant reasonably accommodate Plaintiff’s disability by

removing these existing access barriers. Removal of the barriers identified above is readily

achievable and may be carried out without much difficulty or expense.

         24.      Removal of these barriers would make Defendant’s Website accessible to Plaintiff

and to 3.4 million2 blind Americans, allowing them to independently shop for products via

Defendant’s Website.

         25.      Plaintiff’s above request for injunctive relief is consistent with the work performed

by the United States Department of Justice, Department of Transportation, U.S. Architectural and

Transportation Barriers Compliance Board (the “Access Board”), and numerous federal courts, all

of whom have relied upon or mandated that the public-facing pages of websites comply with an

international compliance standard known as Web Content Accessibility Guidelines version 2.0




2
 “More than 3.4 million (3%) Americans aged 40 years and older are either legally blind (having visual acuity [VA]
of 20/200 or worse or a visual field of less than 20 degrees) or are visually impaired (having VA of 20/40 or less) (Eye
Diseases Prevalence Research Group, 2004).” Centers for Disease Control and Prevention, “The Burden of Vision
Loss.” https://www.cdc.gov/visionhealth/basic_information/vision_loss_burden.htm (last accessed 02/24/2017)

                                                           7
          Case 2:17-cv-00438-AJS Document 1 Filed 04/07/17 Page 8 of 11



AA (“WCAG 2.0 AA”), which is published by an independent third party known as the Worldwide

Web Consortium (“W3C”). Available at https://www.w3.org/ (last visited February 27, 2017).

       26.     The Department of Justice utilizes the WCAG 2.0 Standards as a benchmark for

satisfying the requirements of 42 U.S.C. §§ 12182(a) and 12182(b)(2)(A)(iii). See, e.g.,

Nondiscrimination on the Basis of Disability, Accessibility of Web Information and Services of

State and Local Government Entities and Public Accommodations, 75 Fed. Reg. 43460, 43465

(July 26, 2010) (stating that WCAG 2.0 Guidelines provide "recognized voluntary international

guidelines for Web accessibility").

       27.     The Department of Transportation adopted a Final Rule on November 12, 2013

requiring U.S. and foreign air carriers to conform their websites’ public-facing pages to the WCAG

2.0 AA standards by December 12, 2016.

       28.     The Access Board published a Final Rule on January 18, 2017 requiring all

websites and electronic content of federal agencies to conform to the WCAG 2.0 AA standards

within one year.

       29.     Without the injunctive relief sought herein, Plaintiff and other individuals with

vision related disabilities will continue to be unable to independently use the Website in violation

of their rights under the ADA.

                                 SUBSTANTIVE VIOLATION
                        (Title III of the ADA, 42 U.S.C. § 12181 et seq.)

       30.     The allegations contained in the previous paragraphs are incorporated by reference.

       31.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides: “No

individual shall be discriminated against on the basis of disability in the full and equal enjoyment

of the goods, services, facilities, privileges, advantages or accommodations of any place of public




                                                 8
          Case 2:17-cv-00438-AJS Document 1 Filed 04/07/17 Page 9 of 11



accommodation by any person who owns, leases (or leases to), or operates a place of public

accommodation.” 42 U.S.C. § 12182(a).

       32.     Defendant’s Website is a public accommodation within the definition of Title III of

the ADA, 42 U.S.C. § 12181(7).

       33.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

deny individuals with disabilities the opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages or accommodations of an entity. 42 U.S.C. §

12182(b)(1)(A)(i).

       34.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

deny individuals with disabilities an opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages or accommodations, which is equal to the opportunities

afforded to other individuals. 42 U.S.C. §12182(b)(1)(A)(ii).

       35.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

includes, among other things: “a failure to make reasonable modifications in policies, practices or

procedures, when such modifications are necessary to afford such goods, services, facilities,

privileges, advantages or accommodations to individuals with disabilities, unless the entity can

demonstrate that making such modifications would fundamentally alter the nature of such goods,

services, facilities, privileges, advantages or accommodations; and a failure to take such steps as

may be necessary to ensure that no individual with a disability is excluded, denied services,

segregated or otherwise treated differently than other individuals because of the absence of

auxiliary aids and services, unless the entity can demonstrate that taking such steps would

fundamentally alter the nature of the good, service, facility, privilege, advantage or




                                                9
            Case 2:17-cv-00438-AJS Document 1 Filed 04/07/17 Page 10 of 11



accommodation being offered or would result in an undue burden.” 42 U.S.C. §

12182(b)(2)(A)(ii)-(iii); see also 28 C.F.R. § 36.303(a).

       36.      Title III requires that “[a] public accommodation shall furnish appropriate auxiliary

aids and services where necessary to ensure effective communication with individuals with

disabilities.” 28 C.F.R. § 36.303(c)(1). The regulation sets forth numerous examples of “auxiliary

aids and services,” including “…accessible electronic and information technology; or other

effective methods of making visually delivered materials available to individuals who are blind or

have low vision.” 28 C.F.R. § 36.303(b).

       37.      The acts alleged herein constitute violations of Title III of the ADA, and the

regulations promulgated thereunder. Plaintiff, who is blind and have disabilities that substantially

limit the major life activity of seeing within the meaning of 42 U.S.C. §§ 12102(1)(A) and (2)(A),

have been denied full and equal access to the Website. Plaintiff has not been provided services that

are provided to other patrons who are not disabled, and/or have been provided services that are

inferior to the services provided to non-disabled persons. Defendant has failed to take any prompt

and equitable steps to remedy its discriminatory conduct. These violations are ongoing.

       38.      Plaintiff’s claims are warranted by existing law or by non-frivolous argument for

extending, modifying, or reversing existing law or for establishing new law.

       39.      Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set forth

and incorporated therein, Plaintiff requests relief as set forth below.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for:

       a.       A Declaratory Judgment that at the commencement of this action Defendant was in
                violation of the specific requirements of Title III of the ADA described above, and
                the relevant implementing regulations of the ADA, in that Defendant took no action



                                                 10
            Case 2:17-cv-00438-AJS Document 1 Filed 04/07/17 Page 11 of 11



                that was reasonably calculated to ensure that its Website is fully accessible to, and
                independently usable by, blind individuals;

       b.       A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR § 36.504
                (a) which directs Defendant to take all steps necessary to bring its Website into full
                compliance with the requirements set forth in the ADA, and its implementing
                regulations, so that its Website is fully accessible to, and independently usable by,
                blind individuals, and which further directs that the Court shall retain jurisdiction
                for a period to be determined to ensure that Defendant has adopted and is following
                an institutional policy that will in fact cause Defendant to remain fully in
                compliance with the law—the specific injunctive relief requested by Plaintiffs is
                described more fully in Paragraph 6 above;

       c.       Payment of costs of suit;

       d.       Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR
                § 36.505; and

       e.       The provision of whatever other relief the Court deems just, equitable and
                appropriate.



Dated: April 7, 2017                                   Respectfully Submitted,

                                                       /s/ Benjamin J. Sweet
                                                       Benjamin J. Sweet (PA Bar No. 87338)
                                                       bsweet@carlsonlynch.com
                                                       Edwin J. Kilpela (PA Bar No. 201595)
                                                       ekilpela@carlsonlynch.com
                                                       Kevin W. Tucker (PA Bar No. 312144)
                                                       ktucker@carlsonlynch.com

                                                       CARLSON LYNCH SWEET KILPELA
                                                       & CARPENTER, LLP
                                                       1133 Penn Avenue, 5th Floor
                                                       Pittsburgh, PA 15222
                                                       Phone: (412) 322.9243

                                                       Counsel for Plaintiffs Lisa Frazier




                                                 11
